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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA.                     )
                                              )
v.                                            )            CR NO. 2:21cr0455-MHT-SRW
                                              )
WILLIAM COLON EASTERLING                      )
BRENT COLON EASTERLING                        )
KASSI BROOK EASTERLING                        )
WILLIAM TYLER EASTERLING                      )
GEORGE WILLIAM EASTERLING                     )
THOMAS GLYN WILLIAMS                          )
AMBER NICOLE EASTERLING.                      )

                                             ORDER

       It is hereby

       ORDERED that this matter is set for a mediation conference with the undersigned

Magistrate Judge on November 18, 2021 at 2:00 p.m. via telephone. A member of

chambers staff will contact the parties with the call-in information. It is further

       ORDERED that counsel and the parties, or a representative with full authority to

resolve the motion, shall appear at and attend this conference.

       The exclusive subject of the mediation will be the United States’ Motion for

Criminal Restraining Order to Preserve the Availability of Property for Forfeiture (Doc.

12) (“the motion”). The mediation will not involve any discussion that might relate or lead

to any plea agreement, as the court is prohibited from participating in such discussions.

       On or before November 16, 2021, each party shall provide the undersigned judge

with a confidential mediation statement. The statement should not be filed with the clerk’s

office and should not be served on the other parties. The parties may transmit the statement

to    chambers        by   sending      it    to     the    following      e-mail     address:
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propord_walker@almd.uscourts.gov. The statement is solely for the court’s use in

preparing for the mediation conference. The statement shall be limited to ten pages and

shall include:

       1. A history of any past discussions relating to resolving the motion.

       2. A candid assessment of the strengths and weaknesses of the government’s

          motion and of each defendant’s opposition to the motion, if any.

       3. The position of each party as to which animals and animal parts, nests, and eggs;

          tangible property (e.g., equipment, vehicles, incubators, traps, etc.); cash; and

          any other property at issue should be subject to restraint and which should not,

          and the basis for that position.

       4. The position of each party as to the conditions under which physical custody of

          the fighting birds should be maintained by defendants, and the basis for that

          position.

       5. Any other information that will assist the court in resolving the motion.

       The parties shall be prepared to present documents supporting their respective

positions at the mediation conference.

       DONE, on this the 10th day of November, 2021.

                                                        /s/ Susan Russ Walker
                                                        Susan Russ Walker
                                                        United States Magistrate Judge
